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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

---------------------------------------------------------------X
UNITED STATES OF AMERICA,                                      :
                                                               :
                                                               :
                  - against -                                  :
                                                               :
                                                               :      20 CR 213 (KAM)
DESMONN BECKETT                                                :
                                                               :
                                                               :
                                      Defendant.               :
---------------------------------------------------------------X




                          DEFENDANT DESMONN BECKETT’S
                          BAIL APPLICATION




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                                                                   Attorney for Desmonn Beckett
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Dear Judge Matsumoto,

         Please advised that I am making this application for bail for Mr. Desmonn
Beckett. Mr. Beckett makes this application based upon a number of factors.


         The indictment before the Court charges various defendants with racketeering,
murder in aid-of racketeering, conspiracy to commit murder and various firearms
offenses. Mr. Beckett is not charged in any of those counts. Mr. Beckett is only charged
in count 16, with being an accessory after the fact. While counsel is not privy to any
potential witness testimony on this matter, the discovery provided thus far indicates that
this case is lacking in proof of Mr. Beckett’s knowledge that the underlying crime had
been committed. Knowledge of the underlying crime is one of the elements of the crime
of accessory after the fact. While it is true that the underlying crime is very serious Mr.
Beckett faces a non-mandatory minimum sentence and a maximum sentence of ten
years.
         Four factors guide the Court’s determination of whether a defendant should be
released on bail:
         1)    “the nature and circumstances of the offense charged, including whether the
              offense is a crime of violence… or involves a … firearm’”
         2) “the weight of the evidence against the person”,
         3) “the history and characteristics of the person. Including… the person’s
              character,…past conduct,…and criminal history, and record of appearing at
              court proceedings” :and
         4) “the nature and seriousness of the danger to any person or the community
              that would be posed by the person’s release.”


Counsel is well aware that pre-trial services recommended detention. The facts in the
report tend to under-cut that position. The case against Mr. Beckett is not a crime of
violence and does not involve the use of a firearm. As stated above, the case appears
to be weak as the Government has not put forth any credible evidence as to the
defendant’s knowledge. When one reviews Mr. Beckett’s history and characteristics one
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cannot help but be impressed. Mr. Beckett has a very good career at the United States
Postal Service where he has been employed for over six years. Mr. Beckett works
exceedingly hard as his schedule requires him to work twelve hours a day six to seven
days a week. Mr. Beckett does have one misdemeanor weapon possession case. It
should be noted that this case resulted in a non- jail sentence. In fact, Mr. Beckett was
not even sentenced to a period of probation. The sentence was a conditional
discharge. In addition, Mr. Beckett never missed a court date as evidenced in the bail
report. In the Government’s detention letter there was no specific allegation as to Mr.
Beckett being a danger to any particular person or persons. Further, there was no claim
that he is a flight risk.


        Desmonn Beckett has tremendous support from family and friends. Mr.
Beckett’s mother has reached out to a secured an impressive group of people willing to
pledge their financial futures on Mr. Beckett. Here is the list.



1.Michelle West (Desmonn Beckett’s mother)
  170-30 130th Ave
  Jamaica, NY,11434
  $65,000 Works for USPS for 26 yrs
  917-567-3480
2. Andrew Ronald Wade (Desmonn Beckett’s grand-father retired)
   1231Oakman Branch Road
   Walterboro, S.C, 29488
   $60,000(house)
    843-584-2161

3. Desmonn Jordan (Desmonn Beckett’s father NYCHA)
   233 York Street
   Brooklyn, NY,11201
   $34,000
    929-351-5610
4. Randell Jordan (Desmonn Beckett’s uncle)
   $70,000 (MTA)
   2809 Snyder Avenue apt 3B
   347-299-2423
5. Bridgett Jordan (family friend)
   $78,600
    Manager at the Post Office
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    32 Driggs Avenue
    718-640=6641
6. Lavia Miller USPS (family friend)
   25 Clifton Ave # 1207
    Newark N.J. 07104
    $66,000

       We are aware that the allegations as to the co-defendants in this indictment are
exceptionally serious and troubling. We do not request that Mr. Beckett be released
without conditions. We think that home confinement with electric monitoring or a GPS
anklet would be a set of conditions that permits Mr. Beckett’s release and also protect
the public.
       The Government concedes there is no rebuttable presumption for detention with
respect to Mr. Beckett. In addition, as the Government’s letter points out in two separate
places, Mr. Beckett’s situation with respect to bail is different than his co-defendants.
Based on all of these factors I ask this Court to release Mr. Beckett with conditions.

                                                         Respectfully submitted,


                                                  By:    //Samuel Gregory//

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                                                         Attorney for Desmonn Beckett


Cc: The Hon. Kiyo A. Matsumoto (b ECF)
Clerk of Court (KAM) (by ECF)
Counsel for the Government by ECF (by ECF)
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